
THE COURT.
The petitioner was given an indeterminate sentence for robbery. The petitioner claims that the sentence is void for uncertainty, citing People v. Sama, 189 Cal. 153 [207 Pac. 893]; People v. Mendosa, 178 Cal. 509 [193 Pac. 998] ; In re Lee, 177 Cal. 690 [171 Pac. 958], and Penal Code, sections 213, 671, and 1168.
The sentence was, in effect, for the maximum term provided by law. (In re Lee, supra.)
*417The maximum term provided by law was life imprisonment.
The petition is denied.
Wilbur, C. J., Myers, J., Seawell, J., Waste, J., and Kerrigan, J., concurred.
